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                           UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 LAMBETH MAGNETIC STRUCTURES,
 LLC,
                                                      Civ. No. 2:16-cv-00538-CB
                                Plaintiff,

 v.

 SEAGATE TECHNOLOGY (US) HOLDINGS,
 INC., and SEAGATE TECHNOLOGY LLC,

                             Defendants.



      SEAGATE’S UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL


          Defendants Seagate Technology (US) Holdings, Inc., and Seagate Technology LLC

(“Seagate”) file this Unopposed Motion for Leave to File Under Seal Seagate’s Motion for

Summary Judgment, along with its brief, statement of facts and any exhibits thereto:

          1.       On March 17, 2017, this Court adopted a Stipulated Protective Order (Dkt. Nos.

59, 70), which provided, inter alia, that the parties and non-parties could designate certain

documents and things as “Protected Information” because of their confidential, sensitive business

nature.

          2.       Seagate intends to rely upon documents and things produced by parties and non-

parties to this litigation, including documents designated as “Confidential Information,”

“Confidential Attorney Eyes Only Information,” and “Confidential Outside Counsel’s Eyes Only

Information” under the Protective Order. Based on these designations, these documents contain

highly confidential, sensitive information that is not publicly known. To comply with the

Protective Order regarding the Protected Information, Seagate moves for permission to file under
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seal its Motion for Summary Judgment, corresponding brief, statement of facts and any exhibits

thereto containing confidential information. Seagate will file a redacted version as appropriate of

its Motion for Summary Judgment, corresponding brief, statement of facts and any

accompanying exhibits that are filed under seal.

       3.       Seagate informed Plaintiff Lambeth Magnetic Structures, LLC (“LMS”) of this

motion, and LMS indicated that it does not oppose this motion.

       4.       A proposed Order is attached.

       WHEREFORE, Seagate respectfully requests that this Motion be granted, and that

Seagate be permitted to file its Motion for Summary Judgment, corresponding brief, statement of

facts and any exhibits thereto containing confidential information under seal.




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                                CERTIFICATE OF SERVICE


       I hereby certify that on the 9th day of October, 2018, I electronically filed the foregoing

SEAGATE’S UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL with the

Clerk of the Court using the CM/ECF system which sent notification to all counsel of record.




                                              By:     /s/ Eric G. Soller
                                                     Attorney for Defendants Seagate Technology
                                                     (US) Holding, Inc. and Seagate Technology
                                                     LLC
